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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

 VERLIE MURRY,                     )
                                   )                 Civil Action
    Plaintiff,                     )                 No.
                                   )
 v.                                )                 JURY TRIAL DEMANDED
                                   )
 AVEANNA HEALTHCARE AS, LLC, )
                                   )
    Defendant.                     )
 _________________________________ )

                        COMPLAINT FOR DAMAGES

      COMES NOW, Plaintiff, Verlie Murry, by and through undersigned counsel,

and files this Complaint for Damages against Defendant Aveanna Healthcare AS,

LLC (“Defendant”), and states as follows:

                         JURISDICTION AND VENUE

                                          1.

      Plaintiff invokes the jurisdiction of this court pursuant to 28 U.S.C. § 1331

and 42 U.S.C. § 2000e-5(f).

                                          2.

      The unlawful employment practices alleged in this Complaint were

committed within this district. In accordance with 28 U.S.C. § 1391 and 42 U.S.C.

§2000(e)-5(f), venue is appropriate in this Court.

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                                     PARTIES

                                          3.

      Plaintiff is a citizen of the United States of America, and is subject to the

jurisdiction of this Court.

                                          4.

      Defendant is qualified and licensed to do business in Georgia, and at all times

material hereto, has conducted business within this District.

                                          5.

      Defendant may be served with process by delivering a copy of the summons

and complaint to its registered agent, Corporation Service Company, 40 Technology

Parkway South, Suite 300, Norcross, Georgia 30092.


                     ADMINISTRATIVE PREREQUISITES

                                          6.

      Plaintiff timely filed a charge of discrimination against Defendant with the

Equal Employment Opportunity Commission (EEOC) alleging disability

discrimination in violation of the Americans with Disabilities Act (“ADA”). The

EEOC issued a “Notice of Right to Sue” on February 18, 2021, entitling an action

to be commenced within ninety (90) days of receipt of that notice. This action has

been commenced within ninety (90) days of receipt of the “Notice of Right to Sue”.

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                           FACTUAL ALLEGATIONS

                                           7.

        Defendant has now, and at all times relevant hereto, has been an employer

subject to the Americans with Disabilities Act (“ADA”).

                                           8.

        Plaintiff was hired by Defendant as a certified nurse’s assistant in December

2020.

                                          9.

        The hiring process was completed via text/email/phone. Plaintiff reported for

orientation on or about December 21, 2020. At orientation, Defendant learned for

the first time that Plaintiff has a disability, specifically that Plaintiff is missing

approximately half of an arm. The RN doing the orientation, Angela, asked Plaintiff

about her disability and how Plaintiff washed her hands.

                                         10.

        Plaintiff left orientation scheduled to start on or about December 24, 2020.

Plaintiff received a text message from Yolanda on December 24th directing Plaintiff

to call Marisa Fountain, Defendant’s Operations Manager. Plaintiff called Fountain

who told Plaintiff that they had reconsidered my position and were not moving

forward with Plaintiff’s employment because of her arm issue.


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                                         11.

      Plaintiff suffers from a disability, within the meaning of the ADA, of which

Defendant had actual knowledge.

                                         12.

      Plaintiff was able to perform the essential job functions of the job for which

she was hired.

                                         13.

      Defendant terminated/failed to hire Plaintiff because of her disability or

perceived disability.

                                         14.

      In terminating/failing to hire Plaintiff, Defendant discriminated against

Plaintiff because of her disability.

                                         15.

      Plaintiff has suffered lost wages and emotional distress as a direct result of

Defendant’s unlawful actions.

                              CLAIMS FOR RELIEF

      VIOLATION OF THE AMERICANS WITH DISABILITIES ACT
                    (ADA DISCRIMINATION)




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                                           16.

      Plaintiff repeats and re-alleges paragraphs 7-15 as if set forth fully herein.

                                           17.

      Section 102 of the ADA protects qualified individuals, including Plaintiff,

from adverse employment actions based on a known disability of the employee.

                                           18.

      At times relevant to this action, Plaintiff was a “qualified individual” as that

term is defined by the ADA.

                                           19.

      At times relevant to this action, Plaintiff has been an individual with disability

as that term has been defined by the ADA.

                                           20.

      At times relevant to this action, Defendant and the individual(s) involved in

the decision to terminate/fail to hire Plaintiff were aware of Plaintiff’s disability,

including at the time of Defendant’s termination/failure to hire of Plaintiff.

                                           21.

      Plaintiff’s disability or perceived disability was a determinative factor in

Defendant’s decision to terminate/fail to hire Plaintiff.




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                                             22.

       At all times relevant, Plaintiff could perform the essential functions of her

position.

                                             23.

       Defendant “regarded” Plaintiff as having a “disability” under the ADA.

                                             24.

       In terminating/failing to hire Plaintiff, Defendant discriminated against

Plaintiff because of her disability, thus violating Plaintiff’s rights under the ADA

entitling her to all appropriate relief thereunder.

                                             25.

        As a result of Defendant’s unlawful actions, Plaintiff has suffered emotional

distress and other non-pecuniary damages, as well as economic damages, for which

she is entitled to recover from Defendant.

                                             26.

      Defendant discriminated against Plaintiff, and in failing and refusing to take

any appropriate remedial action to remedy the unlawful employment practices has

not only deprived Plaintiff of equal employment opportunities, but exhibits malice

or reckless indifference to the federally protected rights of Plaintiff.


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                                    27.

Plaintiff is entitled to compensatory and punitive damages.

WHEREFORE, Plaintiff requests judgment as follows:

(a)         General damages for mental and emotional suffering caused by

            Defendant's misconduct;

(b)         Punitive damages based on Defendant's willful, malicious,

            intentional,   and    deliberate   acts,   including    ratification,

            condonation and approval of said acts;

(c)         Special damages for lost wages and benefits and prejudgment

            interest thereon;

(d)         Reasonable attorney’s fees and expenses of litigation;

(e)         Trial by jury as to all issues;

(f)         Prejudgment interest at the rate allowed by law;

(g)         Declaratory relief to the effect that Defendant has violated

            Plaintiff’s statutory rights;

(h)         Injunctive relief of reinstatement, or front pay in lieu thereof, and

            prohibiting Defendant from further unlawful conduct of the type

            described herein; and

(i)         All other relief to which she may be entitled.


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     This 18th day of March, 2021.


                                     BARRETT & FARAHANY

                                     s/V. Severin Roberts
                                     V. Severin Roberts
                                     Georgia Bar No. 940504
                                     Attorney for Verlie Murry

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